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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA

                             CASE NO.: 1:24-cv-00779-JPH-MKK

 MAX MINDS, LLC,

                        Plaintiff,
 v.

 TRIANGLE EXPERIENCE GROUP, INC.,
 ROBERT EDWARD CLARE, JEFFREY
 MASE, KEVIN G MULLICAN and JOHN
 DOES 1-10,

                        Defendants.


      PLAINTIFF’S MEMORANDUM IN SUPPORT OF ITS MOTION TO MAINTAIN
                        DOCUMENTS UNDER SEAL

        Plaintiff MAX MINDS, LLC (“Max”), by and through its undersigned counsel and

pursuant to Local Rule 5-11(e), submits this Memorandum in Support of its Motion to Maintain

Documents Under Seal and states as follows:

        1.     This is an action for trade secrets theft and misappropriation by a prime contractor

to the government in violation of the Economic Espionage Act of 1996 as amended by the

Defend Trade Secrets Act of 2016; copyright infringement in violation of the Copyright Act of

1976, 17 U.S.C. § 101, et. seq.; circumvention in violation of the Digital Millenium Copyright

Act, 17 U.S.C. § 1201; removal or falsification of copyright management information in

violation of the Digital Millenium Copyright Act, 17 U.S.C. § 1202; and false designation of

origin in violation of the Lanham Act, 15 U.S.C. § 1125(a).

        2.     There is good cause to seal the documents that are the subject of this Motion to

Maintain Under Seal as set forth herein and the requirements of Local Rule 5-11(e) have been

met.


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       3.     Pursuant to S.D. Ind. L.R. 5-11(e), Plaintiff moves this Court for an order sealing

the following documents:

                  a. Deposition Excerpt from the Deposition of Robert Clare (Miller Decl. Ex.

                       1);

                  b. Deposition Excerpt from the Deposition of Kevin Mullican (Miller Decl.,

                       Ex. 2);

                  c. Pages from Binder of Discovery Documents labeled as Exhibit 32 used in

                       the deposition of Robert Clare (Miller Decl., Ex. 8);

                  d.   Two Pages of Source Code labeled as Exhibit 36 and used in the

                       deposition of Robert Clare (Miller Decl., Ex. 11);

                  e. Cole Whitman Completed Pull Request labeled as Exhibit 38 and used in

                       connection with the deposition of Kevin Mullican (Miller Decl., Ex. 13);

                  f. TEG Q2 2024 map labeled as Ex. 39 and used in the deposition of Kevin

                       Mullican (Miller Decl., Ex. 14);

                  g. TEG email chain marked as Exhibit 40 and used in the deposition of

                       Kevin Mullican (Miller Decl., Ex. 15).

       4.     The information contained in the document listed above as (d) documents is

competitively sensitive business information regarding Max’s trade secrets, and warrants a

heightened level of security. For this reason, it was marked as “HIGHLY CONFIDENTIAL

(AEO) Discovery Material” as provided for in the parties protective order filed at ECF 75.

       5.     Defendant, TEG, is the designating party for the documents listed above as (c),

(e), (f), and (g) as HIGHLY CONFIDENTIAL (AEO).




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       6.      Redaction to item (d) listed above will not afford adequate protection of the

information, as item (d) is source code for Max’s software which is a trade secret of Max as such

it is designated “HIGHLY CONFIDENTIAL (AEO) SOURCE CODE.”

       7.      For these reasons, item (d) should be kept sealed from the public despite its

relevance or materiality to the resolution of the matter.

       8.      Counsel for Max emailed Counsel for TEG on October 25, 2024, asking if TEG

objected to this Motion and what portions of the deposition transcript TEG wanted to be sealed.

Counsel for TEG said they would get back to counsel for Max and advise accordingly. At the

time of this motion, Max has not heard back from TEG. Max will file a redacted version of item

(a) and (b) after it has had a chance to confer with Counsel for TEG.

Dated: November 26, 2024                      Respectfully submitted,

                                              /s/ J. Campbell Miller
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